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                        United States District Court
                        Eastern District of Michigan
                             Southern Division

United States of America,

           Plaintiff,                   District Court No. 2:92-cr-81127

     v.                                 Hon. David M. Lawson

Gregory Brown,

           Defendant.



                            Notice of Appeal


     Notice is hereby given that the United States appeals to the

United States Court of Appeals for the Sixth Circuit from the amended

judgment for defendant Gregory Brown, entered in this action on

December 21, 2022. (ECF No. 2582).

                                        Respectfully submitted,

                                        Dawn N. Ison
                                        United States Attorney

                                        s/ Jessica V. Currie
                                        Jessica V. Currie
                                        Assistant U.S. Attorney
                                        211 West Fort Street, Suite 2001
                                        Detroit, MI 48226
                                        (313) 226-9531
Dated: January 20, 2023                 jessica.currie@usdoj.gov
